Case 6:18-bk-04871-KSJ Doc 24 Filed 10/05/18 Page 1of 23

Fill in this information to identify your case and this filing: Fl LED

Karen R Wynn

First Name Middle Name Last Name CCT -5 2018
Debtor 2

(Spouse, if filing) First Name Middle Name Last Name CLERK US. BANKRUPTCY,
United States Bankruptcy Court for the: Middle District of Florida ORLANDO DIVISION

Case number g-bk- 0 Us

Debtor t.

 

 

L) Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12115

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

4. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

L) No. Go to Part 2.
4 Yes. Where is the property?

i ?
What is the property? Check all that apply. Do not deduct secured claims. or. exemptions. Put

1663 Brewton Cir wf Single-family home the amount.of any secured.claimis on Schedule D:

4.1. Creditors: Who Have Claims Secured by Property.

Q) Duplex or multi-unit building

 

Street address, if available, or other description

 

 

 

Q) Condominium or cooperative Current value of the Current value of the
C) Manufactured or mobile home entire property? portion you own?
LY Land $ 70,301 $ 70,301
Investment property
Deltona Fl 32728 O Timeshare Describe the nature of your ownership
City State ZIP Code 0 other interest (such as fee simple, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one. fee simple

 

 

 

 

Volusia Wi Debtor 1 only
County Q) Debtor 2 only
©) Debtor 1 and Debtor 2 only C) Check if this is community property

see instructions
(J) At least one of the debtors and another ¢ )

 

 

 

 

 

 

 

 

 

Other information you wish to add about this item, such as local
property identification number:
If you own or have more than one, list here:
i ?
What is the property? Check ail that apply. Do not deduct secured claims or exemptions. Put
Lj Single-family home the amount of any secured claims.on Schedule D:
4.2. —_ Q Duplex of multi-unit building Creditors Who Have Claims Secured by Property.
Street address, if available, or other description . ;
CJ Condominium or cooperative Current value of the Current vatue of the |
() Manufactured or mobile home entire property? portion you own?
(2 Land $ $
C} investment property
: Describe the nature of your ownership
City State ZIP Code O) Timeshare interest (such as fee simple, tenancy by
CQ) other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
OD) debtor 1 only
County C) Debtor 2 only
CL) Debtor 1 and Debtor 2 only C) Check if this is community property
CJ At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local

 

property identification number:

 

 

Official Form 106A/B Schedule A/B: Property page 1

 

 
 

Case 6:18-bk-04871-KSJ Doc 24 Filed 10/05/18 Page 2 of 23

Karen R

Middle Name

Debtor 1

First Name

Last Name

Wynn

 

.

1.3.

 

Street address, if available, or other description

 

 

City State

ZIP Code

 

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that mumber here. ...0.......... 0c cece cece ccc ete e ce ceaee nese esse eseecseeaeceraesaeeseenes »

What is the property? Check all that apply.
) Single-family home

Q Duplex or multi-unit building

LJ Condominium or cooperative

C] Manufactured or mobile home

C] tand

OQ Investment property

CJ Timeshare

C) other

 

Who has an interest in the property? Check one.
C2 Debtor 1 only

Cl] Debtor 2 only

C) Debtor 1 and Debtor 2 only

CI At least one of the debtors and another

Case number (if known)

Do.not deduct secured-claims or exemptions. Put
the amount.of-any secured claims on Schedule D:
Creditors Who.Have Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

CL] Check if this is community property
(see instructions)

Other information you wish to add about this item, such as focal

property identification number:

 

 

 

 

 

 

 

FERRER vescribe Your Vehicles

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

CQ) No
Wi Yes
3.4. Make: Nissan
Model: Murano
Year: 2009
186,000

Approximate mileage:

Other information:

 

 

 

 

If you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Who has an interest in the property? Check one.
Ww Debtor 1 only

C) Debtor 2 only

CI Debtor 1 and Debtor 2 only

(2) At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
C) Debtor 1 only

C) Debtor 2 only

Cd Debtor 1 and Debtor 2 only

(I At least one of the debtors and another

CL) Check if this is community property (see
instructions)

Do'not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

5 3,000 ¢ 3,000 |

 

Do.not deduct secured:claims or exemptions. Put
the amount of any secured claims on Schedule D:

 

Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

 

Official Form 106A/B

Schedule A/B: Property

page 2

 

 

 

 
 

 

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Who has an interest in the property? Check one.

Debto'1 Karen R Wynn
First Name Middle Name
3.3. Make:
Model: Q Debtor 1 onty
UL) Debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

L) Debtor 1 and Debtor 2 only
() At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

J Debtor 4 onty

CL} Debtor 2 only

L} Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

C) Check if this is community property (see
instructions)

Case number (if known),

Do not deduct: secured claims or exemptions.-Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any-secured claims on. Schedule D:
Creditors: Who Have Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Q) No
CJ Yes

4.1. Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

4.2, Make:
Model:
Year:

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that mumber Were occ ceesesscesneeenesoneessesseessesticseseseessesieesaesteeseessssstsstenneesteess >

Who has an interest in the property? Check one.
(J Debtor 1 only

L) Debtor 2 only

C) Debtor 1 and Debtor 2 only

U) At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
L) Debtor 1 only

Q) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

LJ At least one of the debtors and another

(J Check if this is community property (see
instructions)

 

Official Form 106A/B

Do not deduct secured Claims or. exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Wha. Have Claims Secured by Property.

 

Current vaiue of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured.claims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

 

Current value of the Current value of the -
entire property? portion you own?

 

5 73,301

 

 

 

Schedule A/B: Property

page 3

 

 
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Debtor? Karen R Wynn

First Name Middle Name Last Name

Case number (if known)

 

Describe Your Personal and Household Items

 

Do-you own or have any. legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

Current value of the
portion you own?

Do-not deduct secured claims
or exemptions.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LJ No :
WZ Yes. Describe...... diving room, bedroom, stove, fridge $ 4500.00
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
L No
A Yes. Describe.......... TV computer printer cell phone $ 300.00
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
b4 No
C) Yes. Describe.......... §
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
4 No
Q) Yes. Describe.......... $
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
(4 No
Ld Yes. Deseribe.......... §
11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
CL) No
J Yes. Describe.......... clothes, shoes $ 200.00
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
2 No i
CQ) Yes. Describe..........; $
13. Non-farm animals
Examples: Dogs, cats, birds, horses
44 No
Cl Yes. Describe.......... $
14. Any other personal and household items you did not already list, including any health aids you did not list
WA No
Cd Yes. Give specific 5
information. .............
15, Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 2,000
for Part 3. Write that mumber Were ooo cece ccssssseesesesmeesonbecestnvvssspsttnsnassnnuseuatassunvarsesussscesseessevessneesesveussseneseeveersase >
Official Form 106A/B Schedule A/B: Property page 4

 

 

 

 
 

 

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Debtor 1 Karen R Wynn Case number (if known)
First Name Middle Name Last Name
Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own? i
Do not deduct secured. claims .-
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
No
C) QOS oie ccccccescsesccsscsvscscssseesssesnscavevssuvssssesusesssvsvsvevevasscecscevavsvacucauausavevevavavavecevevateesessssasasasesstsesaetacanaaseenerss CASH. ooccccccccccecececeeee $
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
WY No
QD Yes. Institution name:
17.1. Checking account: $
17.2. Checking account: $
17.3. Savings account: $
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

W No

CD Yes. Institution or issuer name:

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

Wi No Name of entity: % of ownership:
C] Yes. Give specific 0% %
information about 0
MNEM. 0. 0% %
0% %

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 5
Case 6:18-bk-04871-KSJ Doc 24 Filed 10/05/18 Page 6 of 23

Debtor 1 Karen R Wynn Case number (if known)

First Name Middle Name Last Name

 

 

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

WY No

Cl) Yes. Give specific !ssuer name:
information about
HOM... $

 

 

 

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

WZ No
CQ) Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: $.
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22.Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

V4 No

CDV eS occ: Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: 5
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
ZW No
i Issuer name and description:
$
$

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 6
 

Case 6:18-bk-04871-KSJ Doc 24 Filed 10/05/18 Page 7 of 23

Debtor1 Karen R Wynn

Case number (if known)

 

First Name Middle Name Last Name

 

 

 

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

YQ No
CD Ves icin secseseterteees

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

W No

C) Yes. Give specific
information about them.... $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

W No

CL) Yes. Give specific
information about them.... $

 

 

 

 

_ 27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

 

 

 

 

4 No
CI Yes. Give specific
information about them... $
Money or property owed to you? Current value of the
portion you own?
Do. not deduct secured

claims.or exemptions.

28. Tax refunds owed to you

W No

L) Yes. Give specific information
about them, including whether
you already filed the returns State:
and the tax years. oo...

 

Federal:

Local:

 

 

 

: 29. Family support
Examples: Past due or jump sum alimony, spousa! support, child support, maintenance, divorce settlement, property settlement

QZ No

 

 

 

 

 

L) Yes. Give specific information..............
Alimony: $
Maintenance: $
Support: $
Divorce settlement: $
Property settlement: $

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
WJ No
C) Yes. Give specific information. ...............
$

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 7

 

 

 
 

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Debtor1 Karen R Wynn

First Name Middle Name Last Name

Case number (if known)

 

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

WY No

CJ Yes. Name the insurance company

- Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

QO No

LI) Yes. Give specific information..............

 

 

 

 

: 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

4 No

Q) Yes. Describe each claim. 00.0...

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

WZ No

UL) Yes. Describe each claim. ec:

 

 

 

 

35. Any financial assets you did not already list

(2 No

C) Yes. Give specific information............

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached 0.00
for Part 4. Write that number Were ooo... ccc ccccceesscsseessssseeeeseseetcseesseesavsevieesvavincessnvanecsasimscsnsieceessniusssensnsaseesessnensecesane > $ :

 

 

 

pars: Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
No. Go to Part 6.
LI Yes. Go to line 38.

Current value. of the
portion you own?

Do not deduct secured claims
or-exemptions.

38. Accounts receivable or commissions you already earned

O) No
Q) Yes. Describe.......

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

2 No
C) Yes. Describe....... 5

 

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 8
 

 

Case 6:18-bk-04871-KSJ Doc 24 Filed 10/05/18 Page 9 of 23

Debtor1 Karen R Wynn

Case number (i known)

 

First Name Middle Name Last Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

 

 

 

 

wi No

CD Yes. Describe....... 5
41. Inventory

Wd No i

Ql Yes. Describe....... s

 

42. interests in partnerships or joint ventures

Wi No
() Yes. Describe.......

 

 

 

Name of entity: % of ownership:
% $
%
% $

 

43. Customer lists, mailing lists, or other compilations

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Wd No
Cl Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
LJ No
LI) Yes. Describe........
$
44. Any business-related property you did not already list
Qd No
CI) Yes. Give specific $
information .........
$
$
$
$
$.
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $
for Part 5. Write that number Were occ ce csssesesssseesssnbessosnenssssneeennseetunaesnnesessnssssnisessnseessieesrsnieassecsuiseesauusessecesase >
Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Wi No. Go to Part 7.
CL} Yes. Go to line 47.
Current value of the
portion you own?
Do not deduct secured.claims
‘or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
al No
7 ee
$

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 9
 

Case 6:18-bk-04871-KSJ Doc 24 Filed 10/05/18 Page 10 of 23

Debtor 1 Karen

R Wynn

 

First Name

‘No

C) Yes. Give specific
information. ............

WW No
CD Yes ccs

50. Farm and fishing sup

WJ No
CD YOS oss

No

] Yes. Give specific
information. ............

Middle Name Last Name

48. Crops—either growing or harvested

Case number (it known)

 

 

 

 

49, Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

 

 

plies, chemicals, and feed

 

 

 

 

51. Any farm- and commercial fishing-related property you did not already list

 

 

 

| 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number Were occ cscs sasessssssasscasecsousssuvessussesuscssecsavessisesssestittunsesssssansessisessscssuesssissseseeesseeseeeasess >

 

 

0.00

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

No

LJ Yes. Give specific
information. ............

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here o.oo... ecccece nese teesseenneeeeees >

 

 

0.00

 

 

 

List the Totals of Each Part of this Form

 

58. Part 4: Total financial

 

56. Part 2: Total vehicles, line 5 $

57. Part 3: Total personal and household items, line 15 $

assets, line 36 $

59. Part §: Total business-related property, line 45 $
60. Part 6: Total farm- and fishing-related property, line 52 $

61. Part 7: Total other property not listed, fine 54 +5

3,000
2,000
0.00
0.00
0.00

0.00

 

62. Total personal property. Add lines 56 through 61. ......0.0000.0... $

 

0.00

 

 

55. Part 1: Total real estate, He 2. cc ccccccccsccccecssessecesseessutessesssnsesveeesrssussssnesssasssvecesecearessensssessvenssseasiesseueesnneessissitesersessavess > $

Copy personal property total > *#¢$

70,301

0.00

 

63. Total of all property on Schedule A/B. Add line 55 + lime 62... cccccceseseececeseeseseeeecstaeseseseesenenesstevacssasessecesariteneecaes $

 

75301

 

 

Official Form 106A/B

Schedule A/B: Property

 

page 10

 

 
 

Case 6:18-bk-04871-KSJ Doc 24 Filed 10/05/18 Page 11 of 23

Fil] in this information to identify your case:

Debtor1 Karen R Wynn

» First Name Middie Name Last Name

 

.

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number LJ Check if this is an
{If known} amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt o4/t6

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dotilar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

CI You are claiming state and federal nonbankruptcy exemptions. 14 U.S.C. § 522(b)(3)
i You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the’. . Amount of the exemption you claim Specific laws that allow exemption.

 

 

 

 

 

 

 

Schedule 'A/B that lists this. property portion you:own
Copy the value from Check only one box for each exemption.
Schedule 4/B :
Brief .
description: 1663 Brewton Cir $70,301 w g 70,301
Line from (2) 100% of fair market vatue, up to
Schedule A/B: any applicable statutory limit
Brief AUTO ¢ 3,000 Wi ¢ 3,000
description: EEE 1 $°
Line from C2 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief :
description,  Rouseholditems __— $2,000 Wi g 2,000
Line from L) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

: 3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

WH No

C) Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

wi No
C] Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of __
Case 6:18-bk-04871-KSJ Doc 24 Filed 10/05/18 Page 12 of 23

Debtor 1 Karen R

Wynn Case number (if known),

First Name Middle Name Last Name

-Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Current value: of the... Amount of the exemption you'claim Specific laws that allow-exemption
portion you own

Copy the value from Check only one box for each exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B
Brief
description: $ Os
Line from () 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: § Os
Line from L} 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description: $ Cs
Line from C} 100% of fair market vatue, up to
Schedule A/B: —_ any applicable statutory limit
Brief
description: §, Os
Line from CJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Ls
Line from () 100% of fair market value, up to
Schedule A/B: ——— any applicable statutory limit
Brief
description: $ Os
Line from CL) 100% of fair market value, up to
Schedule A/B: 7 any applicable statutory limit
Brief
description: $ Lis
Line from LJ 100% of fair market value, up to
Schedule A/B: , any applicable statutory limit
Brief
description: $ Os
Line from LL) 100% of fair market value, up to
Schedule A/B: ———~ any applicable statutory limit
Brief
description: $ Os
Line from J 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from CJ 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description: $ L$
Line from C) 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit

Official Form 106C

 

Schedule C: The Property You Claim as Exempt page 2_ of __
 
  
     
       

  
 

Case 6:18-bk-04871-KSJ

Fill in this information to identify your case:

R

Middle Name

Karen

First Name

Wynn

Last Name

Debtor 1

a

      

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

       
     
 

United States Bankruptcy Court for the: Middle District of Florida

Case number
(lf known)

 

 

Official Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property

Doc 24 Filed 10/05/18

Page 13 of 23

(J Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

CI No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

wi Yes. Fill in all of the information below.

List All Secured Claims

2. List all:secured claims. If a creditor has. more than one secured claim, list the creditor separately —
for each claim.. If more than one creditor has a particular claim, list the other creditors in Part.2.
As much as possible, list:the claims in alphabetical order. according to the creditor's name.

 

  
 

Amount of:

146,298

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[2.4] Nation Star Mortgage Describe the property that secures the claim: $ 216,599 $ 70,301 $
Creditor’s Name i :
Real Property (1663 Brewton Cir Deltona, Fl
Water: : ,
8950 Cypress Waters Blvd 32738) Homestead
Number Street i
As of the date you file, the claim is: Check all that apply.
Ff Contingent
Coppell Tx 75019 = unliquidated
City State ZIP Code Q) Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
A Debtor 1 only Wd An agreement you made (such as mortgage or secured
(3 Debtor 2 only car loan)
Q) Debtor 1 and Debtor 2 only CQ) Statutory lien (such as tax lien, mechanic’s lien)
C) Atleast one of the debtors and another (0 Judgment tien from a lawsuit
LJ} Other (including a right to offset)
U) Check if this claim relates to a
community debt
Date debt was incurred 1991 Last 4 digits of account number oO 3 Oo 0
| 2.2} Credit acceptance Describe the property that secures the claim: $ 8769 ¢5 3,000 ¢ 5,769
Creditors Name :
. 2009 Nissan Murao (Auto
25505 W 12 Mile Rd (Auto)
Number Street
As of the date you file, the claim is: Check all that apply.
rf Contingent
Southfietd Mi 48034 OQ Unliquidated
City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
WA Debtor 1 only (ff An agreement you made (such as mortgage or secured
OC) Debtor 2 only car loan)
O) Debtor 7 and Debtor 2 only OQ Statutory lien (such as tax lien, mechanic’s lien)
C} Atleast one of the debtors and another C} Judgment lien from a lawsuit
O) other (including a right to offset)
CJ Check if this claim relates to a
community debt
Date debt was incurred 2016 Last 4 digits of account number
Add.the dollar value.of your entries in Column A on this page. Write that number here: f__225,368.00

 

 

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of
Case 6:18-bk-04871-KSJ Doc 24 Filed 10/05/18 Page 14 of 23

 

Debtor 1 Karen R Wynn

First Name Middle Name Last Name

Case number (if known)

 

 

Additional Page

After listing any entries on this page, number them beginning with 2.3, followed
by 2.4, and so forth.

 

 

Describe the property that secures the claim: $ $ $

 

Creditor's Name

 

 

 

 

 

 

 

 

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
2 contingent
City State ZIP Code C1 unliquidated
Q Disputed
Who owes the debt? Check one. Nature of lien. Check ali that apply.
Q) Debtor 1 only CJ An agreement you made (such as mortgage or secured
(2 Debtor 2 only car loan)
CJ Debtor 1 and Debtor 2 only C2) Statutory lien (such as tax lien, mechanic’s lien)
() Atleast one of the debtors and another LJ Judgment lien from a lawsuit
(2 other (including a right to offset)
C} Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of accountnumber_
I Describe the property that secures the claim: $. $ $
Creditors Name ;
Number Street

 

 

As of the date you file, the claim is: Check all that apply.
Q Contingent

OC) unliquidated

Disputed

 

 

City State ZIP Code

Who owes the debt? Check one. Nature of lien. Check all that apply.

 

 

 

C1 Debtor 1 only O) An agreement you made (such as mortgage or secured
C2 Debtor 2 only car loan)
(2 Debtor 4 and Debtor 2 only (2 Statutory lien (such as tax lien, mechanic's fien)
{] Atleast one of the debtors and another CY Judgment lien from a lawsuit
C) Check if this claim relates to a CF Other (inctuding a right to offset)
community debt
Date debt was incurred Last 4 digits of account number _
j Describe the property that secures the claim: $ $ $

 

 

Creditors Name

 

 

 

 

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZIP Code O) unliquidated
C) disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CJ Debtor 1 only CY An agreement you made (such as mortgage or secured
CJ Debtor 2 only car loan)
W Debtor 4 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic’s lien)
(CJ Atleast one of the debtors and another CY Judgment lien from a lawsuit
OQ) other {including a right to offset)
L) Check if this claim relates to a

community debt

Date debt was incurred Last 4 digits of account number ____

Add the dollar. value of your entries in Column A on this page. Write that number here:

 
    

lf this is the last page of your form, add the dollar value totals from all pages.
Write that number here:

225,368.00|

 

 

 

 

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page oof
Case 6:18-bk-04871-KSJ Doc 24 Filed 10/05/18 Page 15 of 23

Debtor 4 Karen R Wynn

First Name Middle Name Last Name

Case number (if known)

 

List Others to Be Notified for a Debt That You Already Listed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

“Use this page only if you have: others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example; if a collection
agency is trying to collect from you for'a debt you owe. to someone else, list the creditor in Part.1, and then list the collection agency here. Similarly, if
you have more than one creditor for-any of the debts that you listed in Part.1, list the additional creditors here. If you do not. have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page.

[| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___ _
Number Street
City State ZIP Code

| | On which line in Part 1 did you enter the creditor?

Name Last 4 digits of accountnumber_—
Number Street
City State ZIP Code

| On which line in Part 1 did you enter the creditor?

‘ Name Last 4 digits of account number
Number Street
City State ZIP Code

| | On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number oO 3 a oO
Number Street
City State ZIP Code

On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number
Number Street
City State ZIP Code

|_| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number.
Number Street
City State ZIP Code

Official Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page__—iof

 
Case 6:18-bk-04871-KSJ Doc 24 Filed 10/05/18 Page 16 of 23

Fill in this information to identify your case:

Debtor Karen R Wynn

> * First Name Middle Name Last Name

Debtor 2
(Spouse If filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: Middle District of Florida

Case number

(If known) U2) Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do you have any executory contracts or unexpired leases?
Wl No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
LJ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicie lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contractor lease is for

 

 

Name

 

Number Street

 

City State ZIP Code

 

2.2.

 

Name

 

Number Street

 

City State ZIP Code

 

23

 

Name

 

Number Street

 

City State ZIP Code
2.4

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of ___

 
Debtor 1

Karen

Case 6:18-bk-04871-KSJ Doc 24

R Wynn

 

First Name

Last Name

| | Additional Page if You Have More Contracts or Leases

Person or company with whom you have the-contract.or lease

 

 

Name

 

Number

Street

 

City

State

ZIP Code

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Case number (if known),

What the contract or lease is for

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

 

City

Official Form 106G

State

ZIP Code

Schedule G: Executory Contracts and Unexpired Leases

page. of_

 
Case 6:18-bk-04871-KSJ Doc 24 Filed 10/05/18 Page 18 of 23

Fill in this information to identify your case:

Debtor1 Karen R

First Name Middle Name Last Name

Debtor 2

 

(Spouse, if filing} First Name Middle Name Last Name
United States Bankruptcy Court for the: Middle District of Florida

Case number
(If known}

 

 

LJ Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

7 No
QO) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

LJ No. Go to line 3.
C) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

C3 No

LJ Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column.1: Your codebtor Column 2: The creditor to. whom you owe the debt
Check all. schedules that-apply:
3.1
OQ) Schedule D, line
Name
QO) Schedule E/F, line
Number Street Q) Schedule G, line
City State ZIP Code
3.2
Q) Schedule D, line
Name ———
Q) Schedule E/F, line
Number Street Schedule G, line
City State ZIP Code
3.3
C) Schedule D, line
Name
() Schedule E/F, line
Number Street (1 Schedule G, line
City State ZIP Code

 

 

 

 

Official Form 106H Schedule H: Your Codebtors page1of____
Case 6:18-bk-04871-KSJ Doc 24

Debtor 4 Karen R Wynn

First Name Middle Name Last Name

| Additional Page to List More Codebtors

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column .1: Your. codebtor Column 2: The creditor to whom you: owe the debt
5] Check all schedules that apply:
3.
(J Schedule D, line
Name
) Schedule E/F, line
Number Street ) Schedule G, line
City State ZIP Code
P|
Q) Schedule D, line
Name
3 Schedule E/F, line
Number Street U) Schedule G, line
City State ZIP Code
a
O Schedule D, line
Name
) Schedule E/F, line
Number Street ) Schedule G, line
City State ZIP Code
P|
O) Schedule D, line
Name
Q) Schedule E/F, line
Number Street (J Schedule G, line
City State ZIP Code
|
5 C1 Schedule D, line
ame
() Schedule E/F, line
Number Street (3 Schedule G, line
City State ZIP Code
|
UL] Schedule D, line
Name
() Schedule E/F, line
Number Street (3 Schedule G, line
___ City State ZIP Code
|
O) Schedule D, line
Name
() Schedule E/F, line
Number Street () Schedule G, line
City State ZIP Code
ui Q) Schedule D, line
ame
Q) Schedule E/F, line
Number Street (Y Schedule G, line
City State ZIP Code

 

Official Form 106H Schedule H: Your Codebtors page. of

 
Case 6:18-bk-04871-KSJ Doc 24 Filed 10/05/18 Page 20 of 23

Fill in this information to identify your case:

Debtor? +» Karen R Wynn

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number Check if this is:
(If known)
Q) An amended filing
LJ A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 MM? DDT YY
Schedule I: Your Income 412115

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

 

 

 

Part 1: Describe Employment

 

1. Fill in your employment

 

 

information. Debtor 1 Debtor.2 or non-filing spouse
\f you have more than one job,
attach a separate page with
information about additional Employment status wi Employed C) Employed
employers. LI Not employed CD Not employed
Include part-time, seasonal, or
self-employed work.

ey Occupation Church Secretary
Occupation may include student
or homemaker, if it applies.

Employer’s name Allen Chapel AME Church

 

Employer’s address 1203 Olive Ave

 

 

 

 

Number Street Number Street
Sanford fl 32771
City State ZIP Code City State ZIP Code
How long employed there? 10 years 10 years

Ee ove Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor.1 For Debtor 2:or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). If not paid monthly, calculate what the monthly wage would be. 2. g 2,000.00 $
3. Estimate and list monthly overtime pay. 3. +$ 0.00 + $
4. Calculate gross income. Add line 2 + line 3. 4. | $___ 2,000.0 $

 

 

 

 

 

 

Official Form 106! Schedule I: Your Income page 1

 

 
 

Case 6:18-bk-04871-KSJ Doc 24 Filed 10/05/18 Page 21 of 23

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Karen R Wynn Case number (if known),
First Name Middle Name Last Name
- . For Debtor 1 For Debtor 2. or
, Don-filing spouse.
Copy line 4 Were. cccc ces eseseenasescsceseneseseeseseeteetsnseseseceeeeseneneseees >4. $ 2,00.00 $
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ 0.00 $
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $
5c. Voluntary contributions for retirement plans 5c. $ 0.00 $
5d. Required repayments of retirement fund loans 5d. $ 0.00 $
5e. Insurance Se. §$ 0.00 $
5f. Domestic support obligations 5f. = § 0.00 $
5g. Union dues 5g. $ 0.00 $
5h. Other deductions. Specify: 5h. +5 0.00 +48
6. Add the payroll deductions. Add lines 5a + 5b + 5c+S5d+S5e+5f+5g+5h. 6. § 0.00 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 2,000.00 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0.00 $
monthly net income. 8a.
8b. Interest and dividends 8b. § 0.00 $
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce $ 0.00 $
settlement, and property settlement. 8e.
8d. Unemployment compensation 8d. $ 0.00 $
8e. Social Security 8e. § 0.00 $
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: sf 6S. 0.00 $
8g. Pension or retirement income 8g. § 0.00 $
8h. Other monthly income. Specify: 8h. + $ 0.00 +3
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + Bh. 9. | g _2,00.00 $
10, Calculate monthly income. Add line 7 + line 9. § 2,000.00 + § = |s
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10.
11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 1.6 ¢$ 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 2 00.00
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. Sa
Combined
monthly income
13.Do you expect an increase or decrease within the year after you file this form?
No.
C) Yes. Explain:

 

 

 

 

 

Official Form 1061 Schedule |: Your Income page 2
Case 6:18-bk-04871-KSJ Doc 24 Filed 10/05/18 Page 22 of 23

Fill in this information to identify your case:

Debtor 1 Karen R Wynn

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number
(If known)

 

 

U) Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42/18

If two married people are filing together, both are equally responsible for supplying correct information.

 

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

S| Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Wi No

CJ Yes. Name of person

 

. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

x

 

Signature of Debtor 2

Date
MM/ DD / YYYY

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules

 
Case 6:18-bk-04871-KSJ Doc 24 _ Filed 10/05/18

CREDIT BUREAU ASSOC OF GA
420 College St
Macon, GA 31201-6707

DIVERSIFIED CONSULTANTS IN
10550 Deerwood Park Blvd

Dba Dei

Jacksonville, FL 32256-0596

UNITED COLLECTION SERVICE,
PO Box 953638
Lake Mary, FL 32795-3638

MR. COOPER
8950 Cypress waters Blvd
Coppell, TX 75019

CREDIT ACCEPTANCE
25505 W 12 Mile Rd
Southfield, MI 48034
Fingerhut Customer Service
6250 Ridgewood Road

St. Cloud, MN 36303

Jefferson Capital Systems
16 McLeland Road

St. Cloud. MN 56303

Phone Number: 800-281-2793

Capio Partners LLc
2222 Texoma Pkwy Ste 150
Sherman, TX 75090-2481

AR Resources, Inc.
PO Box 1056
Blue Bell, PA 19422

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